  Case 3:22-mj-00071-MRC Document 1-1 Filed 08/02/22 Page 1 of 6 PageID# 2
                                                                                            Aug 02 2022



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                    Eastern Division

 UNITED STATES OF AMERICA                        )
                                                 )
               v.                                )
                                                 )
                                                          CRIMINAL NO. 3:22-mj- 71
 JULIO CESAR ALVARADO DUBON                      )
 ,                                               )
                                                 )
               Defendant.


                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Derek M. Mullins, being duly sworn, depose and say:

       1. I am a Special Agent with the Department of Homeland Security (DHS), Immigration

and Customs Enforcement (ICE), Homeland Security Investigations (HSI) and have been so

employed since September 2019. Prior to that, I was employed as a Postal Inspector with the

United States Postal Inspection Service (USPIS) from April 2015 to September 2019. Prior to

becoming a Postal Inspector, I was employed by the Department of Homeland Security,

Immigration and Customs Enf



Criminal Investigators Training Program and the U.S. Immigration and Customs Enforcement

            ICE Special Agent Training Program. Prior to my employment with HSI and USPIS,



2005 to 2008. I have received training in various aspects of federal law enforcement, including

the investigation of narcotics and firearms related offenses, as well as numerous other federal and

state offenses. I have participated in multiple investigations, seizures, and search warrants which




                                                 1
  Case 3:22-mj-00071-MRC Document 1-1 Filed 08/02/22 Page 2 of 6 PageID# 3




have resulted in criminal arrests, seizures, and prosecutions. I have also been the affiant on search,

arrest, and seizure warrants that have resulted in successful arrests, seizures, and prosecutions.

       2. My duties as a Special Agent for ICE include, but are not limited to, investigating

violations of the Immigration and Nationality Act, United States Customs laws, and the Federal

Criminal Code.

       3. The facts and information contained in this affidavit are based upon my personal

knowledge as well as the observations of other agents involved in this investigation.                All

observations not personally made by me were relayed to me by the individuals who made them or

were conveyed to me by my review of records, documents, and other physical evidence obtained

during the course of this investigation.

       4. This affidavit contains information necessary to support probable cause for this

application. This affidavit is not intended to include each and every fact and matter observed by

me or known to the Government.

       5. This affidavit is made in support of a criminal complaint charging that on or about July

1, 2022, in Richmond, Virginia, within the Eastern District of Virginia, Julio Cesar ALVARADO

DUBON (ALVARADO), who is illegally and unlawfully present in the United States, did possess

a firearm, in violation of Title 18, United States Code, Section 922(g)(5).

       6. On July 1, 2022, while investigating a tip line report, Officers from the Richmond Police

Department (RPD) encountered ALVARADO at 3112 Columbia Street, Richmond, Virginia.

Officers identified themselves and requested permission to enter the residence. ALVARADO

opened the door and allowed Officers to enter his residence.

       7. While inside the residence, Officers immediately noticed two handgun magazines and

one round of rifle ammunition on a television stand in the living room. After seeing the magazines



                                                  2
  Case 3:22-mj-00071-MRC Document 1-1 Filed 08/02/22 Page 3 of 6 PageID# 4




and rifle rounds, Officers asked ALVARADO if there were any firearms or other individuals in

the residence. ALVARADO advised there were no other individuals in the residence, and an

officer proceeded to perform a protective sweep to ensure there were no other individuals in the

residence. As the officer did so, he saw what he thought was the same or similar firearm as

mentioned in the tip                                . ALVARADO stated that the item the officer

                           proceeded to the bedroom with the officer.

         8.                              bedroom, ALVARADO identified the location of two

firearms in the room. He gestured toward his closet where there was a Radical Firearms, Model

RFS 15 Rifle, serial number RFS04385 (manufactured in Texas). ALVARADO also gestured

toward a dresser drawer where the officer located a Glock 26 Gen 5, 9mm Luger, semiautomatic

pistol, serial number: ADNF440 (manufactured in the countries of Austria and Slovakia, and in

the State of Georgia in the United States). Additionally, when the officer asked ALVARADO for

identification, he gestured toward an expired Guatemalan passport and valid Visa which were also

in the bedroom. The Officer later found another rifle in another bedroom in the residence.

         9. ALVARADO confirmed that he had purchased all three firearms.

         10. Officers contacted Immigration and Customs Enforcement (ICE), Homeland Security

Investigations (HSI) agents to determine the legal status of ALVARADO to determine whether or

not he could legally possess a firearm. HSI Richmond Special Agents conducted records and

indices checks on ALVARADO and determined that he had last entered the United States on a B2

non-immigrant visa on or about August 31, 2014, and overstayed his visa by more than seven

years.

         11. Based on the records checks conducted by HSI and the discovery of three firearms in

the residence, two of which were found in



                                                3
  Case 3:22-mj-00071-MRC Document 1-1 Filed 08/02/22 Page 4 of 6 PageID# 5




ALVARADO for possession of a firearm by a prohibited person in violation of Virginia statute

18.2-308.2.

       12. On July 5, 2022, HSI Special Agents spoke with a representative from the Virginia

Department of Game and Inland Fisheries (VDGIF). VDGIF confirmed that ALVARADO did

not possess a valid Virginia Hunting license, nor had he ever applied for one.

       13. On July 6, 2022, HSI Special Agents interviewed ALVARADO at the Richmond City

Jail in Richmond, Virginia. ALVARADO was read his Miranda Rights in the Spanish language

and agreed to speak with law enforcement officers without his attorney present. During the

interview, ALVARADO stated that he purchased the two rifles from a yard sale near

Fredericksburg, Virginia, in approximately March 2022.

       14. A review of ICE records indicate that ALVARADO entered the United States on or

about February 9, 2014, on a valid multi-entry, B2 non-immigrant visa in Miami, Florida. A multi-

entry visa has an extended expiration date and allows the individual to enter the United States

multiple times throughout the life of the visa. Upon valid entry, United States Customs and Border

Protection (CBP) Officers determine an allotted time for the visa holder to remain in the United

States before they must depart. The timeframe is based upon the purpose of travel, proof of

accommodations, and other factors. The allotted timeframe is provided to the visa holder via form

I-94 and is also stamped in their visa.

       15. ALVARADO was granted a two month stay in the United States by the United States

Customs and Border Protection (CBP) and the departure date was stamped into his visa. Based on

the provided departure date, ALVARADO purchased an airline ticket to leave the United States

via American Airlines flight AA2432 on or about March 31, 2014. American Airlines flight




                                                4
  Case 3:22-mj-00071-MRC Document 1-1 Filed 08/02/22 Page 5 of 6 PageID# 6




manifest records indicate that ALVARADO did not board the airline though he was obliged to

leave the United States at that time.

       16. ALVARADO purchased an airline ticket to leave the United States via American

Airlines flight AA2431 again on or about April 26, 2014. American Airlines flight manifest

records indicate that ALVARADO did not board the airline. It is apparent that ALVARADO did

depart the United States sometime before July 22, 2014, however there are no travel records to

indicate how he did so.

       17. On July 22, 2014, ALVARADO entered the United States via the Los Tomates port of

entry near Harlingen, Texas. It is apparent that ALVARADO did depart the United States

sometime before August 31, 2014, however there are no travel records to indicate how he did so..

       18. On August 31, 2014, ALVARADO entered the United States on a valid multi-entry,

B2 non-immigrant visa in Miami, Florida. ALVARADO was granted a six month stay in the

United States by CBP and the departure date was stamped into his visa.

       19.     ALVARADO purchased airline tickets to leave the United States via American

Airlines flight 2241 on or about September 30, 2014. American Airlines flight manifest records

indicate that ALVARADO did not board the airline. It is apparent that ALVARADO did depart

the United States sometime before October 11, 2014, however there are no travel records to

indicate how he did so.

       20. ALVARADO purchased airline tickets to leave the United States via American

Airlines flight AA1013 again on or about October 11, 2014. American Airlines flight manifest

records indicate that ALVARADO did not board the airline.

       21.     ALVARADO purchased airline tickets to leave the United States via American

Airlines flight AA1603 again on or about February 25, 2015. American Airlines flight manifest



                                               5
  Case 3:22-mj-00071-MRC Document 1-1 Filed 08/02/22 Page 6 of 6 PageID# 7




records indicate that ALVARADO did not board the airline. No further travel records exist for

ALVARADO.

       22.                            s of multiple airline tickets to Guatemala within the departure

time provided by CBP indicate his knowledge of the requirement to leave the country. However,

on multiple occasions, he failed to depart the United States, as required.

       23.     Most recently, he was obliged to depart the United States on or about February 28,

2015. However, he remained in the United States until present day without garnering additional

permission to remain in the United States beyond his departure date. Therefore, he is illegally and

unlawfully in the United States.

       24. A review of Richmond Police Department records shows that both of the firearms

                                    were fully functioning. Each of these firearms travelled in an

affected interstate commerce.

       25. Based on my training and experience, I submit to the Court that probable cause exists

to believe that on or about July 1, 2022, in Richmond, Virginia, within the Eastern District of

Virginia, Julio ALVARADO DUBON, who is illegally and unlawfully present in the United

States, did possess a firearm, in violation of Title 18, United States Code, Section 922(g)(5).



                                ______________________________________________
                                Derek M. Mullins, Special Agent
                                United States Department of Homeland Security
                                Homeland Security Investigations




Sworn to and subscribed to before me
     2nd day of August, 2022
this ____


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